        Case 16-20306 Document 218 Filed in TXSB on 07/21/17 Page 1 of 5




                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                         CORPUS CHRISTI DIVISION                           ENTERED
                                                                           07/25/2017


                                          §
In re                                     §
                                          §
GLOBAL GEOPHYSICAL SERVICES, LLC          §     Case No. 16-20306
                                          §
             Debtor.                      §     Chapter 11
                                          §
Tax ID: XX-XXXXXXX                        §
                                          §
                                          §
In re                                     §
                                          §
GLOBAL GEOPHYSICAL SERVICES, INC.         §     Case No. 16-20307
                                          §
             Debtor.                      §     Chapter 11
                                          §
Tax ID: XX-XXXXXXX                        §
                                          §
                                          §
In re                                     §
                                          §
GLOBAL GEOPHYSICAL EAME, INC.             §     Case No. 16-20308
                                          §
             Debtor.                      §     Chapter 11
                                          §
Tax ID: XX-XXXXXXX                        §
                                          §
                                          §
In re                                     §
                                          §
GGS INTERNATIONAL HOLDINGS, INC.          §     Case No. 16-20309
                                          §
             Debtor.                      §     Chapter 11
                                          §
Tax ID: XX-XXXXXXX                        §
                                          §
            Case 16-20306 Document 218 Filed in TXSB on 07/21/17 Page 2 of 5




                                              §
In re                                         §
                                              §
GLOBAL GEOPHYSICAL (MCD), LLC                 §                          Case No. 16-20310
                                              §
             Debtor.                          §                          Chapter 11
                                              §
Tax ID: (Disregarded Entity for Tax Purposes) §
                                              §
                                              §
In re                                         §
                                              §
GLOBAL AMBIENT SEISMIC, INC.                  §                          Case No. 16-20311
                                              §
             Debtor.                          §                          Chapter 11
                                              §
Tax ID: XX-XXXXXXX                            §
                                              §
                                              §
In re                                         §
                                              §
AUTOSEIS, INC.                                §                          Case No. 16-20305
                                              §
             Debtor.                          §                          Chapter 11
                                              §
Tax ID: XX-XXXXXXX                            §
                                              §
                                              §
In re                                         §
                                              §
AUTOSEIS DEVELOPMENT COMPANY                  §                          Case No. 16-20312
                                              §
             Debtor.                          §                          Chapter 11
                                              §
Tax ID: XX-XXXXXXX                            §
                                              §
                  FINAL DECREE (I) CLOSING THE CHAPTER 11 CASES AND
              (II) TERMINATING CERTAIN CLAIMS AND NOTICING SERVICES

           Upon the motion (the “Motion”) 1 of the above-captioned debtors (collectively, the

“Liquidating Debtors”) for entry of a final decree (the “Final Decree”) closing these chapter 11


1
    Capitalized terms not defined herein shall have the meaning given the Motion.


                                                           2
        Case 16-20306 Document 218 Filed in TXSB on 07/21/17 Page 3 of 5




cases and terminating certain claims and noticing services, all as more fully set forth in the

Motion; and the Court having found that it has jurisdiction over this matter under 28 U.S.C.

§§ 157 and 1334; and the Court having found that this is a core proceeding under 28 U.S.C.

§ 157(b)(2); and the Court having found that venue of this proceeding and the Motion in this

district is proper under 28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief

requested in the Motion is in the best interests of the Liquidating Debtors’ estates, their creditors,

and other parties in interest; and the Court having found that Liquidating Debtors’ notice of the

Motion and the opportunity for a hearing on the Motion was appropriate under the circumstances

and no other notice need be provided; and the Court having reviewed the Motion; and the Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing therefor;

       It is hereby ORDERED that:

       1.      The Motion is granted.

       2.      The following chapter 11 cases are hereby closed:

                                   Debtor                                        Case No.
        Global Geophysical Services, LLC                                      16-20306
        Global Geophysical Services, Inc.                                     16-20307
        Global Geophysical EAME, Inc.                                         16-20308
        GGS International Holdings, Inc.                                      16-20309
        Global Geophysical (MCD), LLC                                         16-20310
        Global Ambient Seismic, Inc.                                          16-20311
        Autoseis, Inc.                                                        16-20305
        Autoseis Development Company                                          16-20312

       3.      The Liquidating Debtors shall, on or before thirty days after entry of this Final

Decree: (a) pay all fees due and payable pursuant to 28 U.S.C. § 1930(a)(6); and (b) serve copies

of all post-confirmation reports on the U.S. Trustee. Entry of this Final Decree is without



                                                  3
        Case 16-20306 Document 218 Filed in TXSB on 07/21/17 Page 4 of 5




prejudice to the rights of the U.S. Trustee to move to reopen these chapter 11 cases to seek

appropriate relief in the event of an unresolved dispute over the payment of fees pursuant to 28

U.S.C. § 1930(a)(6) or the post-confirmation report.

       4.      The Claims and Noticing Services are terminated in accordance with the Motion

upon the completion of the services listed in paragraph 5 below. Thereafter, Prime Clerk shall

have no further obligations to this Court, the Liquidating Debtors, or any other party in interest

with respect to the Claims and Noticing Services in these chapter 11 cases.

       5.      Within thirty days of entry of the Final Decree, Prime Clerk will (a) forward to

the Clerk of the Court an electronic version of all imaged claims, (b) upload the creditor mailing

list into CM/ECF, (c) docket a Final Claims Register in the lead case containing claims of all

cases, and (d) Prime Clerk will also box and deliver all original claims to the Federal Archives

Record Administration. Should Prime Clerk receive any mail regarding the Liquidating Debtors

after entry of this Final Decree, Prime Clerk shall collect and forward such mail no less

frequently than monthly.

       6.      The Liquidating Debtors and their agents are authorized to take all actions

necessary to effectuate the relief granted pursuant to this Final Decree in accordance with the

Motion.

       7.      Notwithstanding anything to the contrary, the terms and conditions of this Final

Decree shall be immediately effective and enforceable upon its entry.

       8.      The Liquidating Debtors reserve the right to reopen the case to accord relief to the

Liquidating Debtors, or for other cause.

       9.      Nothing in the Motion or this Order shall prejudice the right of the Liquidating

Debtors or Westchester Fire Insurance Company (“Westchester”) to move to reopen these cases




                                                4
        Case 16-20306 Document 218 Filed in TXSB on 07/21/17 Page 5 of 5




under 11 U.S.C. § 350(b) and involve the Court as may become necessary or appropriate in

connection with Claim No. 118. The Liquidating Debtors and Westchester reserve all of their

respective rights, claims, and defenses in connection with Claim No. 118, including without

limitation the validity, amount, priority, and allowance of the Claim. The Westchester Reserve,

as defined in the Confirmation Order, will remain in place pursuant and subject to the terms of

paragraph 34 of the Confirmation Order. The deadline by which the Liquidating Debtors may

file an objection to Claim No. 118 is hereby extended indefinitely.

       10.     The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and/or enforcement of this Final Decree.

Dated:
      Signed: July 21, 2017.

                                                    ____________________________________
                                                      ____________________________________
                                                    DAVID   R. JONESDavid R. Jones
                                                      The Honorable
                                                    UNITED   STATES
                                                      Chief United    BANKRUPTCY
                                                                   States             JUDGE
                                                                          Bankruptcy Judge




                                                5
